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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION


JOSHUA B. WHITAKER,
              Plaintiff,
v.                                                CASE NO. 5:18cv51-MCR/MJF
UNITED STATES OF AMERICA,
              Defendant.
                                           /

                                  O R D E R

      This cause comes on for consideration upon the magistrate judge’s Report and

Recommendation dated August 27, 2019. ECF No. 115. The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). I have made a de novo determination of all timely filed objections.

      Having considered the Report and Recommendation, and any objections

thereto timely filed, I have determined that the Report and Recommendation should

be adopted.

      Accordingly, it is now ORDERED as follows:

      1.      The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.
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      2.     Defendant’s Motion for Summary Judgment, ECF No. 44, is

GRANTED and Plaintiff’s Motion for Summary Judgment, ECF No. 56, is

DENIED.

      3.     The clerk of court is directed to enter judgment in favor of Defendant

on Plaintiff’s claims.

      4.     The clerk of the court shall close the case file

      DONE AND ORDERED this 26th day of September 2019.




                                        M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE




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